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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 IN RE: NIASPAN ANTITRUST                              MDL No. 2460
 LITIGATION

                                                       Master File No. 2:13-md-02460

 This Document Relates To:

 Direct Purchaser Actions




      PLAINTIFFS’ MOTION TO EXCLUDE PORTIONS OF DR. PIERRE-YVES
                   CREMIEUX’S PROPOSED TESTIMONY

       Direct Purchaser Class Plaintiffs and Retailer Plaintiffs (collectively, “Plaintiffs”)

respectfully move the Court, pursuant to Federal Rule of Evidence 702, to exclude Paragraphs 72

through 80, 185, 223, and 224 from the Expert Report of Dr. Pierre-Yves Cremieux, as well as

any related opinions or testimony.

       In support of the motion, Plaintiffs hereby incorporate and rely upon the accompanying

Memorandum of Law and the Declaration of Caitlin Coslett, and exhibits thereto. A Proposed

Order is also submitted herewith.




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Dated: January 7, 2022                           Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 7, 2022, I caused a copy of the foregoing to be served on

counsel of record for Defendants by email.

                                                    Respectfully submitted,

                                                    /s/ David F. Sorensen
                                                    David F. Sorensen




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